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UN|TED STATES DlSTR|CT COURT
WESTERN DlSTR|CT OF TENNESSEE

EASTERN DlVlS|ON

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'v` 04-10046-01-T _1._‘: Tll§i}$€i@i

ALBERT LEON SM|TH

Robert C. Brooks. CJA
Defense Attorney

P. 0. Box 771558
Memphis, TN 38177

 

AMENDED JUDGMENT lN A CR|M|NAL CASE
(For Offenses Committed On or Af'ter November 1, 1987)

The defendant pleaded guilty to Count Si-S7 of the Superceding indictment on December
13, 2004. Accordingly, the court has adjudicated that the defendant is guilty of the following

offense(s):
Tme & section
21 u.s_c. § 341(3)(1)
21 u.s.c. § 84113111)
21 u_s.c. § 841(3)(1)
21 u.s.c. § 841(3)(1)
21 u.s.c. § 341(3)(1)
21 u.s.c. § 341(@1)(1)

21 u.s.c. § 841(3)(1)

Nature of Offense

Possession with intent to Distribute
Cocaine Base

Possession with intent to Distribute
Cocaine Base

Possession with intent to Distribute
Cocaine Base

Possession with intent to Distribute
Cocaine Base

Possession with intent to Distribute
Cocaine Base

Possession with intent to Distribute
Cocaine Base

Possession with intent to Distribute

One-Hundred (100) Dosage Units of

Ecstasy

 

Date Of'fense Count
Conc|uded Number(s)
11/26/2003 81
07/31 12002 34
12/03/2001 85
01/17/2003 82
01/08/2003 83
07/02/2004 86
07/02/2004 37

The defendant is sentenced as provided in the following pages of this judgment. The
sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the l\/landatory
Victims Restitution Aot of 1996

Count(s) 88 dismissed on the motion of the United States.

This document entered on the docket sheet in compliance

with Huie 55 and/or 32(b) FRCrP on ~

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|T |S FURTHER ORDERED that the defendant shall notify the United States Attorney for this district
within 30 days of any change of name, residence, or mailing address until all finesr restitution, costs
and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of imposition of Sentence:
Defendant's Date of Birth: 06/30/1970 June 13, 2002
Deft's U.S. iviarshal i\lo.: 19642-076

Defendant's |Vlai|ing Address:
410 Joy Street
Grand Junction, TN 38039

 

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Case No: 1:04cr10046-01-T Defendant Name: Albert Leon Smith Page 3 of 6
|NIPRlSONMENT
The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of 235 Months as to each of Counts S1-S7 of the

Superceding lndictment, concurrent|y.

The Court recommends to the Bureau of Prisons: institution where defendant can
receive intensive residential drug treatment.

The defendant is remanded to the custody of the United States lVlarshal.

RETURN

l have executed this judgment as follows:

 

 

 

 

 

 

 

Defendant delivered on to
at , with a certified copy of this
judgment.
UNiTED STATES l\/lARSHAL
By:

 

Deputy U.S. N|arshal

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Case No: 1:04cr10046-01-T Defendant Name: Albert Leon Smith Page 4 of 6

SUPERV|SED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for
a term of 5 years as to each of Counts S1-S7 of the Superceding |ndictment,
concurrently.

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

Whiie on supervised release, the defendant shall not commit another federal, state
or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance The
defendant shall submit to one drug test Within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD CONDIT|ONS OF SUPERV|SION

1. The defendant shall not leave the judicial district without the permission ofthe court or probation officer;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the Hrst nve days of each month;

3. The defendant shall answer truthful all inquiries by the probation officer and follow the instructions of
the probation officer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten(10) days prior to any change in residence or
employment;
6. The defendant shall refrain from the excessive use of alcohol and shall not purchasel possess, use,

distribute, or administer any narcotic or other controlled substanoe, or any paraphernalia related to such
substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally so|d, used,
distributed, or administered;

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8. The defendant shall not associate with any persons engaged in criminal activity, and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation officer;

9. The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer'.

10. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
law enforcement ofticer;

11. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

12. As directed by the probation officer, the defendant shall notify third parties of risks that may be
occasioned by the defendant’s criminal record or personal history or characteristics, and shall permit
the probation officer to make such notifications and to confirm the defendants compliance with such
notification requirement

13. if this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release
that the defendant pay any such fine or restitution in accordance with the Schedule of Payments set
forth in the Crirninai Nionetary Pena|ties sheet of this judgment

ADDIT|ONAL COND|T|ONS OF SUPERV|SED RELEASE

The defendant shall also comply with the following additional conditions of supervised
release:

1. The defendant shall participate as directed in a program of testing and treatment for drug
abuse as directed by the U. S. Probation Officer, until such time as the defendant is released
from the program by the U. S. Probation Ofiicer.

2. The defendant shall cooperate with the U. S. Probation Office in the collection of DNA.

CR|M|NAL MONETARY PENALT|ES

The defendant shall pay the following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Schedule of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. §
3612(f). All of the payment options in the Schedule of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Total Assessment Total Fine Total Restitution

$700.00

The Speciai Assessment shall be due immediately

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FiNE
No fine imposed.
REST|TUT|ON

No Restitution was ordered.

ENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 66 in
ease 1:04-CR-10046 Was distributed by faX, mail, or direct printing on
July ], 2005 to the parties listed.

 

 

Robert C. Brooks

LAW OFFICE OF ROBERT C. BROOKS
P.O. Box 771558

i\/lemphis7 TN 38177

Jerry R. Kitchen

U.S. ATTORNEY
109 S. Highland Ave.
Jackson, TN 38301

Honorable J ames Todd
US DISTRICT COURT

